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                            UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA
                                SAN FRANCISCO VISION

RICHARD KADREY, et al.,                             Case No. 3:23-cv-03417-VC

        Individual and Representative Plaintiffs,
                                                    PLAINTIFFS’ ADMINISTRATIVE
   v.                                               MOTION TO CONSIDER WHETHER
                                                    ANOTHER PARTY’S MATERIAL
META PLATFORMS, INC.,                               SHOULD BE SEALED RE: MOTION FOR
                                                    LEAVE TO FILE THIRD AMENDED
                                     Defendant.     CONSOLIDATED COMPLAINT



                PLAINTIFFS’ ADMIN. MTN. TO CONSIDER SEALING RE: MOTION FOR LEAVE TO AMEND
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       Pursuant to Civil Local Rules 7-11, 79-5(f), and this Court’s Standing Order on Motions

to Seal, Plaintiffs respectfully submit this Administrative Motion to Consider Whether Another

Party’s Material Should Be Sealed, filed in connection with Plaintiffs’ Motion for Leave to File

Third Amended Consolidated Complaint. The Motion contains, in various places, summaries or

descriptions of material that Defendant Meta Platforms, Inc. (“Meta”), has designated as

“Confidential” or “Highly Confidential - Attorneys Eyes Only,” as defined in the in the parties’

Stipulated Protective Order for Litigation Involving Patents, Highly Sensitive Confidential

Information and/or Trade Secrets (ECF No. 90, the “Protective Order”). Plaintiffs are also filing

all exhibits in support of the Motion under seal because they are either designated, or refer to

material that is designated, as “Confidential” or “Attorneys’ Eyes Only.” Finally, Plaintiffs are

filing the proposed Third Amended Complaint and redlined Complaint fully under seal because

they likely contain a significant amount of information that Meta will move to seal.

       Plaintiffs believe most, if not all, of the filed materials should be made publicly available.

See Judge Chhabria Standing Order at ¶¶ 28-34. Nevertheless, Plaintiffs are provisionally filing

these materials under seal out of an abundance of caution based on Meta’s confidentiality

designations. Accordingly, Plaintiffs have filed a public version of the Motion for Leave to the

docket via ECF, redacting references to such extracted information or summaries. Plaintiffs have

also filed under seal an unredacted, highlighted version. Plaintiffs have also filed “slipsheet”

versions of the exhibits in support of the Motion for Leave via ECF.




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                                                    Dated: November 27, 2024


                                                    By: /s/ Joshua M. Stein
                                                           Joshua M. Stein

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